Court of Appeals
of the State of Georgia

                                                              ATLANTA, August 21, 2024

The Court of Appeals hereby passes the following order

A25I0006. CASEY HUBBARD v. MATTHEW MCCUTCHEON.


     Upon consideration of the Application for Interlocutory Appeal, it is ordered that it be

hereby DENIED.


LC NUMBERS:

SUCV2023000371




                                      Court of Appeals of the State of Georgia
                                           Clerk's Office, Atlanta, August 21, 2024.

                                           I certify that the above is a true extract from the minutes
                                      of the Court of Appeals of Georgia.

                                           Witness my signature and the seal of said court hereto
                                      affixed the day and year last above written.

                                                                         , Clerk.
